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SETTLEMENT AGREEMENT AN]] l'l/[U'I`UAL G-ENERAL RELE ASE

lN CDNSIDER.ATION ot`the agreements set forth below, and in order to avoid further time,l

expense and effort associated with litigation between Brenda Davidson (hereinafter referred to as
“"Davidson” or “Plaintiff’), on the one hand, and J`ohn B. l-lazakis and Koursaros, LLC dfbta
Si:»:zling Grill (hereinatter, jointly and severally, referred to as “The Company" cr “lfllefendants”)ll
the parties hereto agree as follo'ws:

2)

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1) Baeltaround and Intent of the Parties.

A. Plaintiff brought a lawsuit (Case 8:13-cv-343-T-24AAS.) against Defendants
under the Pair Labor Standards Act 29 U.S.C. §201 et &'eq. (“FLSA”) (tl'lc
“Dispute”). Defendants maintain that Plaintiff is not entitled to any relief
whatsoever.

E. The Parties desire to settle fully and finally all differences between them
including arising from the Dispute;

C, Gpportunity to Negotiate and Cons'ider: Thc terms of this Agreernen't are the
product of negotiations between the Parties, and the Parties stipulate that there is
adequate consideration given to support the obligations of this Agreement. ln
executing this Agreement, Plaintiff has not relied on any representation,
compromise, conduct cr action made by and/or on behalf of Defendants or
Defendants’ attorneys Plaintiff acknowledges that Plaintiff has been represented
by and has obtained the advice of her own counsel and agrees that Plaintiff has
been given a reasonable period of time to consider this Agreement. Plaintiff and
Det`endants confirm that they have had the opportunity to consult with their own
respective counsel about this Agreement and did so to their satisfaction; they are
relying on their own judgment and on the advice of their respective attomeys,
and each confirm their ability to understand this Agreetnent and their authority to
execute it; and do hereby accept the terms and conditions of this Agreernent.

D. This Agreement, and compliance With this Agreernent, shall not be construed as
an admission by Defendants of any liability Whatsoever, or as an admission by
Defenclants of any violation of the rights of Plaintiff or any other person, or of
atty Vlolation of any order, law, statute, regulation, duty, or contract, or any act of
discrimination whatsoever against Plaintiff or any other person, and Defendants
specifically disclaim any liability to, or discrimination against Plaintiff or any
other person, and any alleged violation of any rights of Plaintiff or any other
person, or of any order, law, statute, regulation, duty or contract.

Consideration. in consideration for the promises made herein, including but not
limited to, the `Davidson’s release cf the Company, and in full and final settlement
and in satisfaction of any and all claims Plaintiff has or had against the Company and
in full satisfaction of any and all payments due (or may he due) to Plaintiff ii‘om
Defendants under the FLSA, [Det`enda'nts will pay a total of $16,7{|0.00 (t`he
“Settlement Sum")(comprised of $5,500.00, less applicable taxable `Withholdings,
made payable to Plaintiff as back gross Wages, $5,500.00 in liquidated damages to

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Plai'ntii"f`; and, $5,500.00 as attorneys’ fees and costs payable to Bober dc Bober, P.A.
as set forth below. The parties agree that the amount set forth herein for attorneys’
fees and costs Was negotiated as a separate amount from the amounts herein to be
paid to Plaintiff.

The Cornpany shall issue the appropriate tax forms in connection with these
respective payments. Payrnent of the Settlement Proceeds is in full settlement of any
and all claims brought by Plaintiff including, but not limited to, in this Dispute and
under the FLSA including, but not limited to1 claims for unpaid Wages, minimum
wages, overtime, compensation of any kind, compensatory and liquidated damages,
attorneys’ fees and costs. The Settlement Froceeds will be delivered in two (2)
separate checks to Plaintift`s counsel, Bober dc Bober, P.A. by not later than April
27, 2018: Check # 1 to Brenda Davidson for $5,500.0() in 'W'-Z wages, less
applicable taxable withholdings;, and Checlt # 2 for $l l,ZDO.UO to lldot)et‘ de Bober,
P.A. Trust Account for $1]}200.00 (to account for liquidated damages for Plaintiff,
and attorneys’ fees and costs). ]n no event shall any checks paid hereunder be
disbursed until the LI.S. District Ccurt (M.`D.`Fla.) approves this Agreement and
dismisses Plaintist claims with prejudice

The parties hereto agree that after this Agreement is fully execu:ted, they shall
promptly tile a loint Motion to Approve Settlernent and Dismiss Case W`ith
Prej'udice.

3) Limited l'{elease. ln consideration for entering into this AgreernentJ Plaintiff on
behalf of herself and her descendants, dependents, heirs, cxecutors,
administrators, assigns and successors, fully, finally and forever re`leases,
absolves, discharges and gives up any and all claims and rights that Plaintiff may
have against the Defendants) as well as Del"endants’ past and present principal,
agents, managers, sl'iareholdersJ parent compa'nies, subsidiaries7 divisions,
directors, ofticers, administrators, fiduciaries, attorneys, agents, and employees
{`collectivelyr “Releasees”), arising under the Fair Labor Standards Act, or other
federal state or local law governing the payment of overtime wages or minimum
wages

4) Sutticiencv of Cons'ideration. Plaintiff agrees that the Settlement Proceeds are
made in exchange, and constitute good and valuable consideration, for her
execution of this Agreernent.

5) Time to Consider. Plaintiff represents that she has reviewed all aspects of this
Agreement and fully understands all the provisions of this Agreement, that
Plaintiff understands that in agreeing to this document Plaintiff is releasng
Defendants from any and all wage-related claims (inclucling FLSA claims)
Plaintiff may have against Defendants described herein, that Plaintiff voluntarily
agrees to all the terms set forth in this Agreement, that Plaintiff knowingly and
willingly intends to be legally bound by the same, that Plaintiff was given the
opportunity to consider the terms of this Agreernent and discuss them with legal
counsel. Det`endants likewise agree that they have entered in this Agreement

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voluntarily; that the Agreement is authorized and that by the signature(s) below,
Defendants intend to be bound by this Agrcement.

d) Neutral Response to Eniployment lnguiries. Defendants agree that henceforth
they will respond to inquiries from prospective employers regarding Plaintiff by
providing only \Pla'intitfs dates of employment and positions held. Det`endants
shall be prohibited from providing any other information to prospective
employers of the Plaintiff lt shall be a material breach of the foregoing non~
disparagement clause for the Defendants or their upper management (owners,
managers or supervisors) to reveal to a prospective employer of Plaintiff, that
`Plaintiffbrought litigation against the Defendants_

7) No representation The Parties hereto represent and acknowledge that, in
executing this Agreement, they do not rely and have not relied upon any
representation or statement made by any of the Parties or by any of the Parties’
agents, attorneys, or representatives with regard to the subject matter, basis, or
effect of this Agreement or otherwise, other than those specifically stated in this
written Agreement.

3) Binding F.ffect. This Agrcement shall be binding upon the Parties hereto and
upon their heirs, administratorsd representativesl executors, successors, and
assigns, and shall inure to the benefit of said Parties and each of them and to their
he:irs, administrators, representatives, executors, successors, and assigns.
Plaintiff expressly warrants that she has not transferred to any person or entity
any rights, causes ofaction, or claims released in this Agreement_

9) Severahle P'rcvisions. Should any provision of this Agreement be declared or be
determined by any court of competent jurisdiction to be wholly or partially
illegal, invalidF or 'une'ntbroeabie, the iegality, validity, and enforceability of the
remaining parts, terms, or provisions shall not be affected thereby, and said
illegal, unenforceable or invalid part, tennJ or provision shall be deemed not to
be a part ofthis Agreement.

li_i] Headiltgs. The headings contained in the Agreement arc for reference purposes
only and shall not in any way affect the meaning or interpretation of this
Agreement.

ll) Applicable Law. This Agreement shall be interpreted in accordance with the

plain meaning of its terms and riot strictly for or against any of the parties bereto_
This Agreement shall be governed `by, and construed and interpreted in
accordance witb, the laws of the State of Florida without regard to principles of
conflict of law.

12) .i`urisdiction. Thc Parties agree that jurisdiction to enforcer interpret and/or
construe any provision of this Agreeinent shall be in Polk Countyy Floi‘ida.
Shouid Plaintiff be required to enforce the Defendants’ payment obligations as
set forth above, the Plaintiff shall be entitled to attorneys’ fees and costs with
respect to such efforts as well as eollection.

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13) Construction of Agreement. This Agreement shall be interpreted in accordance
with the plain meaning of its terms and not strictly for or against any of the
parties hereto. Each Party has had the opportunity to cooperate in the drafting
and preparation of the Agreement. Hence, in any construction to be made of the
Agreement, the same shall not be construed against any Party on the basis that
the Party was the drafter.

14) Signatures. The Agreement may be executed in counterparts, and each
counterpart, when executed, shall have the efficacy of a signed original.
Photographio, faxed or scanned copies of such signed counterparts may be used
in lieu of the originals for any purpose.

15) No Waiver/All Rights Are Cumulative. No waiver of any breach of any term or
provision of the Agreement shall be construed to `be, nor shall be deemed, a
waiver of any other breach of the Agreement. N`o waiver shall be binding unless
it is made in writing and signed by the party waiving the breach. A`Il rights are
cumulative .

lo) .Parties’ Acknowiedgment. The liarties acknowledge that the terms of this
Agreement are contractual and not a mere recitai, and that no representationl
promise or inducement has been made other than as set forth in this Agrcement,
and that each Party enters into this Agreeme.nt without reliance upon any other
representation promise or inducement not set forth herein. The Parties further
acknowledge and represent that each assumes the risk for any mistake of fact
now known or unknown, and that shefit understands and acknowledges the
significance and consequences of this Agreement and represents that its terms are
fully understood and voluntarily accepted

B‘r' YOUR SIGNA'l`UR_E, YOU AGR_`EE TO T. l TERMS SET FORT]¥I`:.A\BOVE.

v esa -#»/ ii

Date Brenda Davidson

    

Koursaros, LLC dfbfa Sizziing Grill

 

 

 

 

 

By;
Date its
Date J`ohn B. Hazakis

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and that each Party enters into this Agreement without reliance upon any other
representation, promise or inducement not set forth herein. The Parties further
acknowledge and represent that each assumes the risk for any mistake of fact
now known or unknown, and that She/it understands and acknowledges the
significance and consequences of this Agreement and represents that its terms are
fully understood and voluntarily accepted

BY YOUR SIGNATURE, YOU AGREE TO THE TERMS SET FORTH ABOVE.

 

 

Date Brenda Davidson

/ Koursaros, LLC d/b/a Sizzling Grill
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John B. Hazakis

 

 

Date

